       TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN


                       JUDGMENT RENDERED AUGUST 23, 2024



                                    NO. 03-23-00290-CV


                              Keith Gregory Moraw, Appellant

                                               v.

                            Concepcion Emelia Valdez, Appellee




        APPEAL FROM THE 426TH DISTRICT COURT OF BELL COUNTY
            BEFORE JUSTICES BAKER, SMITH, AND THEOFANIS
    DISMISSED FOR WANT OF PROSECUTION -- OPINION BY JUSTICE SMITH




This is an appeal from the order signed by the trial court on April 6, 2023. Having reviewed the

record, the Court holds that Keith Gregory Moraw has not prosecuted his appeal and did not

comply with a notice from the Clerk of this Court. Therefore, the Court dismisses the appeal for

want of prosecution. Because appellant is indigent and unable to pay costs, no adjudication of

costs is made.
